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                                                                          UNITED STATES BANKRUPTCY COURT
                                                                         MIDDLE DISTRICT OF NORTH CAROLINA

 Fill in this information to identify your case:


 Debtor 1:               Helen                                  Louise                    Barnes                        Check if this is an amended plan,
                         First Name                             Middle Name               Last Name                  and list below the sections of the
                                                                                                                     plan that have changed.
 Debtor 2:
 (Spouse, if filing)     First Name                             Middle Name               Last Name

 Case Number:
 (If known)

 SSN# Debtor 1: XXX-XX-                     xxx-xx-9188

 SSN# Debtor 2: XXX-XX-



                                                                                CHAPTER 13 PLAN


 Section 1:           Notices.

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be confirmable. You must
check each box that applies in § 1.1 and 1.3 below. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 4, which may result in a              Included                Not Included
              partial payment or no payment at all to the secured creditor.
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest will            Included                Not Included
              be done by separate motion or adversary proceeding.
 1.3          Nonstandard provisions set out in Section 9                                                        Included                Not Included


To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You will need to file a proof of claim in order to be paid under any plan. Official notice will be sent to Creditors, which will provide the name and
address of the Trustee, the date and time of the meeting of creditors, and information regarding the filing of proofs of claim.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one. If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least seven days before the date set for the hearing on confirmation. You will receive notification from the Bankruptcy Court of
the date set for the hearing on confirmation. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015.

The applicable commitment period is:

                  36 Months

                  60 Months

The amount that allowed priority and non-priority unsecured claims would receive if assets were liquidated in a Chapter 7 case, after allowable
exemptions, is estimated to be $ 0.00 .

 Section 2:           Payments.

2.1 The Debtor will make payments to the Trustee as follows:


APPENDIX D                                                                            Chapter 13 Plan                                        Page 1
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        $1,463.00 per Month for 1 month(s)
        $1,778.00 per Month for 59 month(s)

        Additional payments               NONE

2.2 The Debtor shall commence payments to the Trustee within thirty (30) days from the date the petition was filed. If fewer than 60 months of
     payments are specified, additional monthly payments will be made to the extent necessary to pay creditors as specified in this plan.

 Section 3:           Fees and Priority Claims.

3.1 Attorney fees.

          The Attorney for the Debtor will be paid the presumptive base fee of $ 4,500.00 . The Attorney has received $                    0.00       from the
        Debtor pre-petition and the remainder of the fee will be paid monthly by the Trustee as funds are available.

           The Attorney for the Debtor will be paid a reduced fee of $      . The Attorney has received $              from the Debtor pre-petition and
        the remainder of the fee will be paid monthly by the Trustee as funds are available.

              The Attorney for the Debtor will file an application for approval of a fee in lieu of the base fee.

3.2 Trustee costs. The Trustee will receive from all disbursements such amount as approved by the Court for payment of fees and expenses.

3.3 Priority Domestic Support Obligations (“DSO”).

        a.        None. If none is checked, the rest of Section 3.3 need not be completed or reproduced.


3.4 Other Priority Claims to be Paid by Trustee.

        a.        None. If none is checked, the rest of Section 3.4 need not be completed or reproduced.

        b. To Be Paid by Trustee

                            Creditor                                                                       Estimated Priority Claim
 Internal Revenue Service (MD)                                                                                                                                 $0.00
 NC Department of Revenue                                                                                                                                    $625.98
 Person County Tax Collector                                                                                                                                   $0.00

 Section 4:           Secured Claims.

4.1 Real Property – Claims Secured Solely by Debtor’s Principal Residence.

        a.        None. If none is checked, the rest of Section 4.1 need not be completed or reproduced.
        b.        Maintenance of Payments and Cure of Default.

              Installment payments on the claims listed below will be maintained and any arrearage will be paid in full. Proofs of claim should reflect
              arrearage amounts through the petition date. For accounts that are in default, the Trustee will commence disbursements of installment
              payments the month after confirmation. Any filed arrearage claim will be adjusted to include post-petition installment payments
              through the month of confirmation.

              Amounts stated on a filed proof of claim, and as adjusted to include post-petition payments through the month of confirmation, will
              control over any contrary amounts listed below for the installment payment and the arrearage. Additionally, the Trustee will adjust the
              installment payment in accordance with any Notice of Mortgage Payment Change filed under Bankruptcy Rule 3002.1.

              The Trustee is authorized to pay any post-petition fee, expense, or charge for which notice is filed under Bankruptcy Rule 3002.1 if no
              objection is filed to such fee, expense, or charge.

             Creditor                                    Address of Residence           Current      Installment        Estimated                  If Current,
                                                                                         Y/N          Payment           Arrearage                    Indicate
                                                                                                                        Amount on                  by Debtor
                                                                                                                       Petition Date               or Trustee


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             Creditor                                    Address of Residence             Current       Installment         Estimated          If Current,
                                                                                           Y/N           Payment            Arrearage            Indicate
                                                                                                                            Amount on          by Debtor
                                                                                                                           Petition Date      or Trustee
 Mr. Cooper        259 Trescott Drive Timberlake, NC 27583                              N                 $1,016.30               $3,048.90 Trustee
                   Person County
                   Home and Land
 Person County Tax 259 Trescott Drive Timberlake, NC 27583                                                     $0.00                  $0.00 Debtor
 Collector         Person County
                   Home and Land

        c.        Claims to be Paid in Full by Trustee

             Creditor                Address of Residence               Estimated           Monthly                    Monthly                 Contractual
                                                                          Claim             Payment                     Escrow                  Interest
                                                                                                                       Payment                    Rate
 -NONE-

        d.       Request for Valuation to Treat Claims as Totally Unsecured. This will be effective only if the applicable box in Section 1.1. of this plan is
              checked.

             Creditor                  Address of Residence              Estimated           Value of              Amount of                   Amount of
                                                                           Claim            Residence             Claims Senior                 Secured
                                                                                                                  to Creditor's                  Claim
                                                                                                                      Claim
 -NONE-

4.2 Real Property – Claims Secured by Real Property Other Than by Debtor’s Principal Residence AND Claims Secured by Debtor’s Principal
     Residence and Additional Collateral.

        a.        None. If none is checked, the rest of Section 4.2 need not be completed or reproduced.


4.3 Personal Property Secured Claims.

        a.        None. If none is checked, the rest of Section 4.3 need not be completed and reproduced.

        b.        Claims Secured by Personal Property to be Paid in Full.

             Creditor                        Collateral                 Estimated           Monthly             Interest         Adequate            Number of
                                                                          Claim             Payment               Rate           Protection          Adequate
                                                                                                                                  Payment            Protection
                                                                                                                                                     Payments
 -NONE-

        c.         Claims Secured by Personal Property excluded from 11 U.S.C. § 506 being either (i) incurred within 910 days before the petition date
               and secured by a purchase money security interest in a motor vehicle acquired for personal use of the Debtor, or (ii) incurred within one
               (1) year of the petition date and secured by a purchase money security interest in any other thing of value. The filed claim must include
               documentation to show exclusion from 11 U.S.C. § 506 in order to be paid in full.

             Creditor                        Collateral                 Estimated           Monthly             Interest         Adequate            Number of
                                                                          Claim             Payment               Rate           Protection          Adequate
                                                                                                                                  Payment            Protection
                                                                                                                                                     Payments




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             Creditor                        Collateral                     Estimated                Monthly          Interest        Adequate              Number of
                                                                              Claim                  Payment            Rate          Protection            Adequate
                                                                                                                                       Payment              Protection
                                                                                                                                                            Payments
 First Investors     2015 Jeep                                                    $21,041.00               $496.49       14.63%             $169.00        10
 Servicing Corporati Cherokee 64,000
                     miles
                     VIN:
                     1C4PJMDB3FW593
                     003
                     Travelers
                     Insurance
                     Policy #:
                     996718410 203 1

        d.         Request for Valuation to Treat Claims as Secured to the Value of the Collateral and Any Amount in Excess as Unsecured. This will be
               effective only if the applicable box in Section 1.1 of this plan is checked.

      Creditor             Estimated             Collateral          Value of       Amount of      Amount of     Monthly         Interest    Adequate Number of
                           Amount of                                 Collateral       Claims     Secured Claim   Payment           Rate     Protectionn Adequate
                           Total Claim                                               Senior to                                               Payment    Protection
                                                                                    Creditor's                                                          Payments
                                                                                       Claim
 -NONE-

        e.        Maintenance of Payments and Cure of Default.

              Proofs of claim should reflect arrearage through the petition date. For accounts that are in default the Trustee will commence
              disbursements of installment payments the month after confirmation and any filed arrearage claims will be adjusted accordingly.
              Amounts stated on a proof of claim as adjusted to include post-petition payments through the month of confirmation, will control over
              any contrary amounts listed below for the installment payment and the arrearage.

                         Creditor                                                  Collateral                    Installment            Estimated Arrearage
                                                                                                                  Payment              Amount on Petition Date

 -NONE-
The Debtor requests that the Court determine the value of the secured claims listed as set forth in Sections 4.1.d, 4.2.d, and 4.3.d as applicable.
For each non-governmental secured claim listed above, the Debtor states that the value of the secured claim should be set out in the column
headed Amount of Secured Claim. For secured claims of governmental units only, unless otherwise ordered by the Court, the value of a secured
claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed above. For each listed claim,
the value of the secured claim will be paid in full with interest at the rate stated above.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Section 6 of this plan.
If the amount of a creditor’s secured claim is listed above as having no value, the creditor’s allowed claim will be treated in its entirety as an
unsecured claim under Section 6 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of
claim controls over any contrary amounts listed in Section 4.

The holder of any claim listed in Section 4 as having value in the column headed Amount of Secured Claim will retain the lien on the property
interest of the Debtor or the estate until the earlier of:

      (a) payment of the underlying debt determined under non-bankruptcy law, or

      (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Section 5:           Collateral to be Surrendered.

        a.        None. If none is checked, the rest of Section 5 need not be completed or reproduced.

        b.        The Debtor Proposes to Surrender to Each Creditor Listed Below the Collateral that Secures the Creditor’s Claim.

              Upon timely filing of a claim evidencing a non-avoidable lien, the Debtor will surrender the collateral in satisfaction of the secured claim,
              and the stay under 11 U.S.C. § 362(a) will be terminated as to the collateral only and the stay under § 1301 will be terminated in all
              respects effective upon confirmation of this plan. Effective upon confirmation the creditor will be allowed a period of 120 days for
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             personal property and a period of 180 days for real property to file a documented deficiency claim. Any allowed unsecured claim
             resulting from disposition of the collateral will be treated as an unsecured claim under Section 6.

                                            Creditor                                                             Collateral to be Surrendered


 Progressive Leasing                                                                      Misc. furniture

 Section 6:           Nonpriority Unsecured Claims.

6.1 Nonpriority Unsecured Claims Not Separately Classified.

        Allowed nonpriority unsecured claims will be paid pro rata with payments to commence after priority unsecured claims are paid in full.

        a.       The estimated dividend to nonpriority unsecured claims is                0     %.

        b.       The minimum sum of $                      will be paid pro rata to nonpriority unsecured claims due to the following:

                                Liquidation Value

                                Disposable Income

                                Other

6.2 Separately Classified Nonpriority Unsecured Claims.

        a.        None. If none is checked, the rest of Section 6.2 need not be completed or reproduced.


 Section 7:           Executory Contracts and Unexpired Leases.


        a.        None. If none is checked, the rest of Section 7 need not be completed or reproduced.


 Section 8:           Local Standard Provisions.

8.1 a. The Trustee shall collect and disburse payments in accordance with the plan.
     b. Proofs of claim must be filed to receive disbursements pursuant to the plan. Any claim to be paid as secured must contain evidence of a
         properly perfected lien on property of the estate. If a claim is listed as secured and the creditor files an unsecured claim, the claim will be
         treated as unsecured.
     c. Any creditor holding an allowed secured claim and to whom the Debtor is surrendering property under the order confirming plan is
         granted relief from the automatic stay as to the property and relief from any co-debtor stay so the creditor may obtain possession and
         liquidate the property. Any net proceeds, after payment of liens and costs of liquidation, are to be forwarded to the Trustee.
     d. All payments being made by the Trustee on any claim secured by real or personal property shall terminate upon the lifting of the
         automatic stay with respect to the affected property.
     e. Notwithstanding the allowance of a claim as secured, all rights under Title 11 to avoid liens are reserved and confirmation of the plan is
         without res judicata effect as to any action to avoid a lien.
     f. Notwithstanding 11 U.S.C. § 1327(b), all property of the estate as specified by 11 U.S.C. §§ 541 and 1306 shall continue to be property of
         the estate following confirmation until the earlier of discharge, dismissal, or conversion of the case.
     g. Confirmation of the plan shall not prejudice the right of the Debtor or Trustee to object to any claim.
     h. The Debtor must promptly report to the Trustee and must amend the petition schedules to reflect any significant increases in income and
         any substantial acquisitions of property such as inheritance, gift of real or personal property, or lottery winnings.

8.2 THE FOLLOWING ADDITIONAL PROVISIONS ARE APPLICABLE TO THE HOLDER OR SERVICER (“HOLDER”) OF A CLAIM SECURED BY A DEED OF
     TRUST, A MORTGAGE OR SECURITY INTEREST IN REAL PROPERTY, OR A MOBILE HOME THAT IS THE DEBTOR’S PRINCIPAL RESIDENCE:

        a. The Holder, upon confirmation, is precluded from imposing late charges or other default related fees based solely on pre-confirmation
           default.

        b. If the Trustee is disbursing ongoing monthly installment payments, the Holder must apply each ongoing payment to the month in which
           the payment is designated.


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        c. For any loan with an escrow account, the Holder must prepare and must send an escrow analysis annually to the Debtor, the Trustee and
           the Debtor’s attorney. The first escrow analysis must be filed with the proof of claim in accordance with Bankruptcy Rule 3002.1. The
           escrow analysis should not include any amounts that were included or should have been included in the arrearage claim.

        d. The Holder shall continue to send monthly statements to the Debtor in the same manner as existed pre-petition and such statements will
           not be deemed a violation of the automatic stay.

        e. The Holder is required, upon request, to provide account information to the Trustee within 21 days of the request and failure to provide
           a timely response may result in an order requiring the Holder to appear and show cause as to why Holder should not be sanctioned for
           failure to comply.

        f. Nothing herein shall modify Holder’s responsibilities under Bankruptcy Rule 3002.1.

        g. Unless the Court orders otherwise, an order granting a discharge in the case shall be a determination that all pre-petition and
           post-petition defaults have been cured and the account is current and reinstated on the original payment schedule under the note and
           security agreement as if no default had ever occurred.
        h. PENALTY FOR FAILURE OF HOLDER TO COMPLY WITH THE REQUIREMENTS OUTLINED IN BANKRUPTCY RULE 3002.1.
           Without limitation to the Court’s authority to afford other relief, any willful failure of the Holder to credit payments in the manner
           required by Bankruptcy Rule 3002.1 or any act by the creditor following the entry of discharge to charge or collect any amount incurred or
           assessed prior to the filing of the Chapter 13 Petition or during the pendency of the Chapter 13 case that was not authorized by the order
           confirming plan or approved by the Court after proper notice, may be found by the Court to constitute contempt of Court and to be a
           violation of 11 U.S.C. § 524(i) and the injunction under 11 U.S.C. § 524(a)(2).

 Section 9:           Nonstandard Plan Provisions.

             a.                 None. If none is checked, the rest of Section 9 need not be completed or reproduced.

             b.            The following plan provisions will be effective only if there is a check in the box “Included” in Section 1.3. Any nonstandard
                           provision as defined by Bankruptcy Rule 3015(c) set out elsewhere in this plan is void.


 Student Loans:

 The Buchanan Provisions shall apply:

 1.            The Debtor is not seeking nor does this Plan provide for any discharge, in whole or in part, of her student loan obligations.

 2.            The Debtor shall be allowed to seek enrollment in any applicable income-driven repayment ("IDR") plan with the U. S.
               Department of Education and/or other student loan servicers, guarantors, etc. (Collectively referred to hereafter as "Ed"),
               without disqualification due to her bankruptcy.

 3.            Ed shall not be required to allow enrollment in any IDR unless the Debtor otherwise qualifies for such plan.

 4.            The Debtor may, if necessary and desired, seek a consolidation of her student loans by separate motion and subject to
               subsequent court order.

 5.            Upon determination by Ed of her qualification for enrollment in an IDR and calculation of any payment required under
               such by the Debtor, the Debtor shall, within 30 days, notify the Chapter 13 Trustee of the amount of such payment. At such
               time, the Trustee or the Debtor may, if necessary, file a Motion to Modify the Chapter 13 Plan to allow such direct payment
               of the student loan(s) and adjust the payment to other general unsecured claims as necessary to avoid any unfair
               discrimination.

 6.            The Debtor shall re-enroll in the applicable IDR annually or as otherwise required and shall, within 30 days following a
               determination of her updated payment, notify the Chapter 13 Trustee of such payment. At such time, the Trustee or the
               Debtor may, if necessary, file a Motion to Modify the Chapter 13 plan to allow such direct payment of the student loan(s)
               and adjust the payment to other general unsecured claims as necessary to avoid any unfair discrimination.

 7.            During the pendency of any application by the Debtor to consolidate her student loans, to enroll in an IDR, direct payment
               of her student loans under an IDR, or during the pendency of any default in payments of the student loans under an IDR, it
               shall not be a violation of the stay or other State or Federal Laws for Ed to send the Debtor normal monthly statements
               regarding payments due and any other communications including, without limitation, notices of late payments or

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               delinquency. These communications may expressly include telephone calls and e-mails.

 8.            In the event of any direct payments that are more than 30 days delinquent, the Debtor shall notify her attorney, who will in
               turn notify the Chapter 13 Trustee, and such parties will take appropriate action to rectify the delinquency.

 9.            The Debtor's attorney may seek additional compensation by separate applications and court order for services provided in
               connection with the enrollment and performance under an IDR.


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) certify(ies) that the wording and order of
the provisions in this Chapter 13 Plan are identical to those contained in MDNC Local Form 113, other than any nonstandard provisions included
in Section 9.

Signature(s):

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.

 X      /s/ Helen Louise Barnes                                              X
        Helen Louise Barnes                                                        Signature of Debtor 2
        Signature of Debtor 1

        Executed on           December 27, 2018                                    Executed on
                              mm/dd/yyyy                                                          mm/dd/yyyy


 /s/ Koury Hicks                                                                  Date:   December 27, 2018
 Koury Hicks
 Signature of Attorney for Debtor(s)

 Address:              6616-203 Six Forks Road
                       Raleigh, NC 27615
 Telephone:            919-286-1695
 State Bar No:         36204 NC




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                                                                     UNITED STATES BANKRUPTCY COURT
                                                                      Middle District of North Carolina

 In re: Helen Louise Barnes                                                       )        Case No.
                                                                                  )
        259 Trescott Drive                                                        )
                         (address)                                                )
        Timberlake NC 27583-0000                                                  )        CHAPTER 13 PLAN
 SS# XXX-XX- xxx-xx-9188                                                          )
 SS# XXX-XX-                                                                      )
                                                                                  )
                                          Debtor(s)                               )

                                                                           CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the Notice to Creditors and Proposed Plan was served by first class mail, postage prepaid , to the following
parties at their respective addresses:


 -NONE-


 Date      December 27, 2018                                                               /s/ Koury Hicks
                                                                                           Koury Hicks




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